

Stewart v Faith Temple (2024 NY Slip Op 03658)





Stewart


2024 NY Slip Op 03658


Decided on July 3, 2024


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on July 3, 2024
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: WHALEN, P.J., CURRAN, BANNISTER, DELCONTE, AND HANNAH, JJ.


517 CA 23-01666

[*1]JAMES STEWART, PLAINTIFF-RESPONDENT,
vFAITH TEMPLE (NOW ADONAI ASSEMBLY OF GOD OF ROCHESTER), ET AL., DEFENDANTS, ASSEMBLIES OF GOD NATIONAL YOUTH MINISTRIES, THE GENERAL COUNCIL OF THE ASSEMBLIES OF GOD AND NATIONAL ROYAL RANGERS MINISTRIES, DEFENDANTS-APPELLANTS.






NELSON MADDEN BLACK LLP, NEW YORK CITY (BARRY BLACK OF COUNSEL), FOR DEFENDANTS-APPELLANTS.
MARC J. BERN &amp; PARTNERS, LLP, NEW YORK CITY, POLLACK, POLLACK, ISAAC &amp; DECICCO, NEW YORK CITY (JILLIAN ROSEN OF COUNSEL), FOR PLAINTIFF-RESPONDENT.


Appeal from an order of the Supreme Court, Monroe County (Deborah A. Chimes, J.), entered March 28, 2023. The order denied the motion of defendants Assemblies of God National Youth Ministries, the General Council of the Assemblies of God and National Royal Rangers Ministries to dismiss the second amended complaint against them. 
It is hereby ORDERED that the order so appealed from is unanimously affirmed without costs.
Entered: July 3, 2024
Ann Dillon Flynn
Clerk of the Court








